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                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                    No. 18 CR 03475

ROBERT DUNSWORTH,

               Defendant.

                            UNOPPOSED MOTION FOR
                        EXTENSION OF TIME TO FILE REPLY

       NOW COMES the defendant, Robert Dunsworth, by and through his counsel, Irma

Rivas, Assistant Federal Public Defender, and moves the Court to extend the time to file a

reply in this case. Currently, a reply is due on Thursday, January 23, 2020. A fourteen

(14) day extension would require the reply be filed Thursday, February 6, 2020.

       As grounds for this request, counsel states:

       1.      Mr. Dunsworth is currently in custody at the Santa Fe County Adult

Detention Facility. After Mr. Dunsworth met with counsel to discuss the reply to the

government’s response, additional investigation will be required. This investigation is

important to Mr. Dunsworth as this investigation will result in a more accurate and

complete reply to be filed in his case.

       2.      Special Assistant U.S. Attorney Thomas Outler does not oppose this

motion.
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       WHEREFORE, defendant Robert Dunsworth requests that the Court extend the

deadline for filing a reply by fourteen (14) days, or until February 6, 2020.

I HEREBY CERTIFY THAT on the                             Respectfully submitted,
22nd Day of January 2020, I filed
the foregoing electronically through the                 FEDERAL PUBLIC DEFENDER
CM/ECF system, which caused SAUSA                        111 Lomas NW, Suite 501
Thomas Outler to be served by electronic                 Albuquerque, NM 87102
means, as more fully reflected on the                    (505) 346-2489
Notice of Electronic Filing.

                                                          /s/ filed electronically   .
                                                         IRMA RIVAS, AFPD
                                                         Attorney for Defendant
        filed electronically




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